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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA




                                                     )
IN RE APPLICATION OF THE                             )
UNITED STATES OF AMERICA FOR                         )       MISC. NO.
AN ORDER PURSUANT TO                                 )
18 U.S.C. § 3512                                     )
                                                     )
Request from Romania for Assistance in a             )
Criminal Matter: Ciulin, Bobi Constantin             )
                                                     )


                          APPLICATION OF THE UNITED STATES
                       FOR AN ORDER PURSUANT TO 18 U.S.C. § 3512

        The United States of America, moving by and through its undersigned counsel,

respectfully submits this ex parte application for an Order, pursuant to 18 U.S.C. § 3512,

appointing the undersigned attorney, Aaron P. Gershbock, Trial Attorney, Office of International

Affairs (or a substitute or successor subsequently designated by the Office of International

Affairs), as a commissioner to collect evidence from witnesses and to take such other action as is

necessary to execute a request for assistance in a criminal matter from Romania. In support of

this application, the United States asserts:

                                        RELEVANT FACTS

       1.      On August 3, 2016, the Romanian Ministry of Justice submitted a request for

assistance (the Request) to the United States, pursuant to the Treaty Between the Government of

the United States of America and the Government of Romania on Mutual Legal Assistance in

Criminal Matters, Rom.-U.S., May 26, 1999, S. TREATY DOC. NO. 106-20, as amended by the

Protocol to the Treaty between the United States of America and Romania on Mutual Legal
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Assistance in Criminal Matters signed in Washington on 26 May 1999, Rom.-U.S., September

10, 2007, S. TREATY DOC. NO. 110-11 (the Treaty). As stated in the Request, the

Prosecutor's Office attached to the High Court of Cassation and Justice, Directorate for

Investigating Organized Crime and Terrorism, is investigating three criminal offenses,

specifically, illegal accessing of a computer system, conducting fraudulent financial operations,

and putting into circulation forged values, which occurred between on or about December 26,

2015, and February 1, 2016, in violation of the criminal law of Romania, namely, Articles 360,

250, and 313 (respectively) of the Romanian Criminal Code. A copy of the applicable law is

included as Attachment A to this application. Under the Treaty, the United States is obligated to

render assistance in response to the Request.

       2.      According to authorities in Romania, on February 1, 2016, Romanian authorities

caught Ciulin Bobi Constanti (Constanti) in the act of using counterfeit bank cards to withdraw

money from an ATM in Romania. As part of the investigation, Romanian officials searched

Constanti's home in Romania and found both hardware and software designed for use in forging

electronic payment instruments, 50 counterfeited bank cards, and approximately $15,000 in cash

that appeared to come from fraudulent ATM withdrawals.

       3.      Upon further investigating the counterfeited bank cards, Romanian authorities

learned that many of the banks that ostensibly issued the bank cards counterfeited by Constanti

were located in the United States. Romanian authorities traced each counterfeit bank card to an

ATM transaction in Romania, and discovered that 35 bank cards were used at ATMs from 26

different U.S. banks. All the transactions took place on December 12, 2015. The 28 relevant

bank card numbers from each of the 24 banks in the United States that have not yet voluntarily

produced records without a subpoena are listed below:
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     Bank Name                                         Account Number

     Bank One N.A. USA                                 )000(XXXXXXXX9379
2    BOFT NA USA (Bank of OK)                                           X8405
3    l3oneville Bank USA                                         )00000(6064
     Capital Federal Savings Bank USA                            )00000020 0
5    Dollar Bank                                       )00000(          X4774
     Dollar Bank                                       XXXXXX           X1276
     EDS Employees Federal USA (San Antonio Credi
     Union)                                            )00000000000(3204
8    Eglin Federal Credit Union                                  XXXXXX3145
9    Famers State Bank Of Calhan                       300000(           7882
10   First National Bank Of Pennsylvania               XXXXXXXXXXXX5330
11   Franklin Mint F.C.U.                              XXXXXXXX)000(8989
12   Jeanne D'Arc C-U USA                                      XXXXXX9463
13   Kentucky Telco Federal Credit Union               )00000(XXXXXX9546
14   Kentucky Telco Federal Credit Union               XXXXXX           X9546
15   Legacy Bank Of Texas USA                          )000(XX           6988
16   PNC Bank N.A.                                     XXXXXX           X1042
     PSCU Financial Services Inc. (Sun East Federal
17   Credit Union)                                                       5216
18   Pulse EFT Association USA (Woodforest National)   XXXX)000000(X5365
19   Pulse EFT Association USA (Woodforest National)                    X1281
20   Regions Bank USA                                          )000(XX0335
     EIF Federal Credit Union (SAFE F.C.U.)                             X4276
22   South Carolina Federal Credit Union                                X1457
23                                                                      X4213
24   Suncoast Schools Federal                                           X3972
25   U.S. Bank National Association USA
26   Zions First National Bank                         XXXX)000000(X0098
27   Zip Network USA                                   XXXXXXXXXXXX3062
28   Zip Network USA                                   XXXXXXXXXXXX4896

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        4.      To further the investigation, authorities in Romania have asked U.S. authorities to

(1) provide bank records from the banks pertaining to the listed account numbers; (2) provide

bank records from the listed banks pertaining to complaints of fraudulent transactions from the

account holders for the relevant period, including the loss amount with respect to each complaint

and whether the bank has compensated the true account holders as a result of the fraudulent

transactions; and (3) ask each bank to clarify whether the bank wishes to make a claim as part of

and party to Romania's combined criminal and civil case.

                                    LEGAL BACKGROUND

                                            The Treaty

        5.     A treaty constitutes the law of the land. U.S. Const. art. VI, c1.2. The provisions

of a treaty have equal footing with acts of Congress and are binding on the courts. See Asakura

v. City of Seattle, 265 U.S. 332, 341 (1924); United States v. The Peggy, 5 U.S. 103 (1801);

United States v. Emuegbunam, 268 F.3d 377, 389 (6th Cir. 2001). The provisions of a treaty

should be construed liberally "to give effect to the purpose which animates it." United States v.

Stuart, 489 U.S. 353 (368) (1989) (internal quotation marks omitted). To the extent that the

provisions of a treaty are inconsistent with a preexisting statutory provision, the treaty supersedes

the statute. Zschernig v. Miller, 389 U.S. 429, 440-41 (1968).

       6.      The United States and Romania entered into the Treaty to promote more effective

cooperation and assistance between the parties in criminal matters. See Treaty, pmbl. The

Treaty obligates each party, upon request, to provide assistance to the other in criminal

investigations, prosecutions, and related proceedings, including assistance in serving documents,

obtaining testimony, statements, and records, and executing searches and seizures. Treaty,

Article 1. In addition, the Treaty, like 18 U.S.C. § 3512, authorizes federal courts to use



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compulsory measures to further the execution of such requests. Treaty, Article 5(1) ("The

competent judicial authorities. . . of the Requested State shall have power to issue subpoenas,

search warrants or other orders necessary to execute the request.").

                                          18 U.S.C. §3512

        7.     When executing a treaty or non-treaty request for assistance from a foreign

authority, an attorney for the government may file an application to obtain any requisite court

orders under 18 U.S.C. § 3512. This section authorizes a federal court to issue such orders and

provides in pertinent part:

       Upon application, duly authorized by an appropriate official of the Department of
       Justice, of an Attorney for the Government, a Federal judge may issue such orders
       as may be necessary to execute a request from a foreign authority for assistance in
       the investigation or prosecution of criminal offenses, or in proceedings related to
       the prosecution of criminal offenses, including proceedings regarding forfeiture,
       sentencing, and restitution.



       [A]n application for execution of a request from a foreign authority under this
       section may be filed. . . in the District of Columbia.



       The term "foreign authority" means a foreign judicial authority, a foreign
       authority responsible for the investigation or prosecution of criminal offenses or
       for proceedings related to the prosecution of criminal offenses, or an authority
       designated as a competent authority or central authority for the purpose of making
       requests for assistance pursuant to an agreement or treaty with the United States
       regarding assistance in criminal matters.

18 U.S.C. § 3512(a)(1), (c)(3), (h)(2).

       8.      Congress enacted this section to make it "easier for the United States to respond

to [foreign] requests by allowing them to be centralized and by putting the process for handling

them within a clear statutory scheme." 155 Cong. Rec. 6,810 (2009) (statement of Sen.

Whitehouse); Foreign Evidence Request Efficiency Act of 2009, Pub. L. No. 111-79, 123 Stat.

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2086.1 This section provides clear authority for the federal courts, upon application duly

authorized by an appropriate official of the Department of Justice, to issue orders which are

necessary to execute a foreign request.

        9.      An application is duly authorized by an appropriate official of the Department of

Justice when the Office of International Affairs, which serves as the "Central Authority" for the

United States, has reviewed and authorized the request, and executes the request itself or

delegates execution to another attorney for the government.2 Upon such a duly authorized

application, Section 3512 authorizes a federal judge3 to issue "such orders as may be necessary

to execute [the] request," including: (1) search warrants under Fed. R. Crim. P. 41; (2) orders for

electronic records under 18 U.S.C. § 2703; (3) orders for pen registers or trap and trace devices

under 18 U.S.C. § 3123; and (4) orders appointing a person to direct the taking of testimony or

statements and/or the production of documents or other things. See 18 U.S.C. § 3512(a)(1)-

(b)(1). In addition, a federal judge may prescribe any necessary procedures to facilitate the

execution of the request, including any procedures requested by the foreign authority to facilitate

its use of the evidence. See In re Letter of Request from the Crown Prosecution Service of the


'Prior to the enactment of 18 U.S.C. § 3512, the United States routinely utilized the procedures
authorized by 28 U.S.C. § 1782 (the "commissioner" process) to execute requests from foreign
authorities. See In re Request from the United Kingdom, 685 F.3d 1, 11 (1st Cir. 2012) (18 U.S.C. §
3512 provides a more streamlined process than 28 U.S.C. § 1782, the statute under which foreign requests
were previously executed); see also Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 247-49
(2004) (describing history of Section 1782). When enacting Section 3512, Congress anticipated that
improved U.S. handling of foreign requests would ensure reciprocity in response to U.S. requests for
assistance in its criminal investigations. See, e.g., 155 Cong. Rec. 10,093 (2009) (statement of Rep.
Schiff).

2The Attorney General, through regulations and Depai talent of Justice directives, delegated to the Office
of International Affairs the authority to serve as the "Central Authority" under treaties and executive
agreements between the United States and other countries pertaining to mutual assistance in criminal
matters. See 28 C.F.R. 0.64-1, 0.64-4, and Appendix to Subpart K, Directive Nos. 81A and 81B.

3The term "federal judge" includes a magistrate judge. See 18 U.S.C. § 3512(h)(1) and Fed. R. Crim. P.
1(b)(3)(B) (including a magistrate judge in the definition of federal judge).
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United Kingdom, 870 F.2d 686, 693 (D.C. Cir. 1989) (court has discretion in prescribing

procedures to be followed in executing foreign request under 28 U.S.C. § 1782); cf. White v.

National Football League, 41 F.3d 402, 409 (8th Cir. 1994) (court may issue process necessary

to facilitate disposition of matter before it); Fed. R. Crim. P. 57(b).

       10.      Section 3512 also authorizes any person appointed to direct the taking of

testimony or statements and/or the production of documents or other things to: (1) issue an order

requiring a person to appear and/or produce documents or other things; (2) administer any

necessary oaths; (3) take testimony or statements; and (4) take receipt of documents or other

things. 18 U.S.C. § 3512(b)(2). In ordering a person to appear and/or produce documents or

other things, the person appointed, commonly referred to as the "commissioner," typically uses a

subpoena entitled "Commissioner Subpoena." Any such subpoena or any other order, subject to

subsection (d), may be served or executed anywhere in the United States. 18 U.S.C. § 3512(f).

A copy of a "Commissioner Subpoena" is included as Attachment B.

                                     REQUEST FOR ORDER

       11.     The Office of International Affairs has reviewed and authorized the Request, and

is executing the Request itself. Consequently, this application for an Order appointing the

undersigned attorney as a commissioner to collect evidence from witnesses and to take such

other action as is necessary to execute the Request has been "duly authorized" within the

meaning of Section 3512. In addition, the Request was submitted by an appropriate "foreign

authority," i.e., the Romanian Ministry of Justice, the designated Central Authority in Romania

for requests made pursuant to the Treaty, and seeks assistance in the investigation of illegal

accessing of a computer system, conducting fraudulent financial operations, and putting into

circulation forged values, criminal offenses in Romania. Furthermore, the requested Order is



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necessary to execute the Request, and the assistance requested, i.e., the production of bank

records, falls squarely within that contemplated by both the Treaty and Section 3512. Finally,

this application was properly filed in the District of Columbia.

         12.     Both Section 3512 and the Treaty authorize the use of compulsory process in the

execution of treaty requests comparable or similar to that used in domestic criminal

investigations or prosecutions. Because subpoenas utilized in U.S. criminal proceedings (i.e.,

grand jury and criminal trial subpoenas) are issued without notice to any person other than the

recipient (i.e., no notice to targets or defendants), orders and commissioner subpoenas issued in

execution of a treaty request pursuant to Section 3512 and the applicable treaty likewise should

require no notice other than to the recipients. This is true even if the Requesting State, as here,

seeks financial records, because the Right to Financial Privacy Act, 12 U.S.C. §§ 3401 et seq.,

including its notice provisions, does not apply to the execution of foreign requests for legal

assistance. Young v. U.S. Dept. of Justice, 882 F.2d 633, 639 (2d Cir. 1989), cert. denied, 493

U.S. 1072 (1990); In re Letters of Request from the Supreme Court of Hong Kong, 821 F. Supp.

204, 211 (S.D.N.Y. 1993); In re Letter of Request for Judicial Assistance from the Tribunal Civil

de Port-Au-Prince, Republic of Haiti, 669 F. Supp. 403, 407 (S.D. Fla. 1987). Accordingly, this

Court should authorize a commissioner to collect the evidence requested without notice to any

person other than the recipients of the commissioner subpoenas.4

        13.      Therefore, the United States respectfully requests that this Court issue the

attached Order, pursuant to 18 U.S.C. § 3512, appointing the undersigned attorney, Aaron P.

Gershbock, Trial Attorney, Office of International Affairs (or a substitute or successor



4 Romanian authorities have not asked U.S. authorities to keep the Request confidential. Accordingly, the
United States is not seeking authorization to issue a non-disclosure order, nor is it seeking an order to seal
the court file.
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subsequently designated by the Office of International Affairs) as a commissioner, authorizing

the undersigned to take the actions necessary, including the issuance of commissioner subpoenas,

to obtain the evidence requested in a form consistent with the intended use thereof.


                                             Respectfully submitted,


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                      Relevant Provisions of the Romanian Criminal Code

Article 360, Illegal accessing of a computer system:

 (1) Access without right to a computer system shall be punished by imprisonment from 3
     months to 3 years or a fine.

 (2)   The deed described in par. (1) committed in order to obtain computer data, is punishable
       by imprisonment from 6 months to 5 years.

 (3) If the deed described in par. (1) was committed on a computer system that, through
     procedures, devices or specialized programs, access is restricted or prohibited for certain
     categories of users, the punishment is imprisonment 2 to 7 years.

Article 250, Conducting fraudulent financial operations:

 (1)   Conducting an operation to withdraw cash, load or unload an electronic payment
       instrument or funds transfer by using, without the consent of the holder, an electronic
       payment instrument or identification data that allow its use is punishable by
       imprisonment from 2 to 7 years.

Article 313, Putting into circulation forged values:

 (1)   Putting into circulation the forged values stipulated in articles 310-312 as well as their
       receipt, possession or transmission, in order to put them into circulation is sanctioned
       with the punishment provided by law for the offense of forgery by which they were
       produced, respectively by imprisonment of 2-7 years and prohibition of certain rights.
